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                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ and ASHTON DENNIS,
    on behalf of themselves and all other similarly
    situated,

                    Plaintiff,

    v.                                                 Case No. 18-CV-0298-SPF-JFJ

    VIC REGALADO, et al.,

                     Defendants.


                                                 ORDER

           Before the Court is Plaintiffs’ Motion to Extend Expert Report Deadline (ECF No. 304).
   The Court finds that the motion should be and is here be granted.
           IT IS THEREFORE ORDERED THAT:
                   Plaintiffs’ expert reports and disclosures to be completed by November 12, 2021
                   Defendants’ expert reports and disclosures to be completed by May 13, 2022.
                   Expert discovery to close on June 14, 2022.
                   Class certification motion, and Daubert motions (if any), to be filed by July 8, 2022.
                   Class certification oppositions to be filed by July 29, 2022.
                   Class certification replies to be filed by August 12, 2022.
                   Summary judgment motions to be filed by August 22, 2022.
                   Summary judgment oppositions to be filed by September 22, 2022.
                   Summary judgment replies to be filed by October 13, 2022.


           SO ORDERED this 31st day of August, 2021.




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